Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 1 of 9




                      Exhibit L
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 2 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 3 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 4 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 5 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 6 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 7 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 8 of 9
Case 4:19-cv-01751-DMR Document 25-12 Filed 07/29/19 Page 9 of 9
